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                     EXHIBIT J
                                                                                             LarsonP3000029




To: Sari Boren                                                                                                                       ©
                                        Jun 16, 2017, 2:19 PM

                                                                I have news, my dear-- my kidney story is getting published!

Omg! Where?

                                                                                                    American Short Fiction!

Cool!!

                                                                I am excited but also worried that DD is going to murder me

Eh, Whatever. Just don't use her note
                                                                                                                          Case 1:19-cv-10203-IT Document 194-10 Filed 12/23/22 Page 2 of 2
